                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         2022-NCCOA-157

                                           No. COA21-7

                                       Filed 15 March 2022

     Union County, No. 19 CVS 2803

     IDA EDWARDS, Petitioner,

                    v.

     TORRE JESSUP, COMMISSIONER OF THE DIVISION OF MOTOR VEHICLES,
     STATE OF NORTH CAROLINA, Respondent.


              Appeal by Respondent from order entered 22 September 2020 by Judge Jeffery

     K. Carpenter in Union County Superior Court. Heard in the Court of Appeals 5

     October 2021.


              Paul A. Tharp for the Petitioner-Appellee.

              Attorney General Joshua H. Stein, by Special Deputy Attorney General
              Christopher W. Brooks, for the Respondent-Appellant.


              DILLON, Judge.


¶1            Appellee was charged with driving while impaired (“DWI”). This appeal does

     not concern this charge but rather concerns the revocation of her driver’s license by

     the North Carolina Division of Motor Vehicles (the “DMV”) based on her failure to

     consent to a chemical analysis after being charged with DWI. The superior court held

     that the DMV erred in revoking Appellee’s license on appeal. We reverse the superior

     court.
                                      EDWARDS V. JESSUP

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                                       Opinion of the Court



                                         I. Background

¶2         On 7 February 2019, a law enforcement officer (the “Officer”) responded to a

     call about a driver who had fallen asleep in the drive-through lane of a fast-food

     restaurant. Upon arrival, police at the scene directed the Officer to a vehicle parked

     in the restaurant’s parking lot. Appellee was seated in the driver side of the vehicle.

     The vehicle was not running. The Officer asked Appellee to step out of the vehicle.

     The Officer noticed that Appellee seemed very lethargic, had a “deer in the

     headlights” look, and slurred her speech. When requested to present her driver’s

     license, Appellee mistakenly gave the Officer her bank card and post office

     identification. Appellee then failed a field sobriety test and eventually admitted to

     taking unprescribed Hydrocodone.

¶3         The Officer charged Appellee with DWI, an implied consent offense. Appellee

     was transported to a detention center, where she refused to consent to a blood sample

     for a chemical analysis.

¶4         Appellee received notice that her driving privileges were being revoked for

     refusing chemical analysis pursuant to N.C. Gen. Stat. § 20-16.2 (2019).           She

     requested an administrative hearing. At the conclusion of the hearing, the DMV

     hearing officer sustained the revocation. Appellee then filed a petition seeking review

     in the superior court. After a hearing on the matter, the superior court reversed the

     DMV’s decision. The DMV timely appealed to our Court.
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                                           II. Analysis

¶5         If an officer has “reasonable grounds to believe” that a driver has committed

     an implied-consent offense, such as DWI, the driver is required to submit to a

     chemical analysis. N.C. Gen. Stat. § 20-16.2(a). Any such driver who refuses to

     submit to a chemical analysis may have her license revoked, simply for refusing, even

     if she is not later convicted of the underlying crime.

¶6         Here, the superior court reversed the DMV decision on two different grounds.

     We address each in turn.

              A. Reasonable Grounds That Appellee Was Operating Her Vehicle

¶7         The superior court concluded that there was a lack of evidence to support a

     finding that Appellee was operating her motor vehicle. However, the evidence does

     not need to establish that Appellee was driving the vehicle. The only requirement is

     that the Officer had “reasonable grounds to believe that” Appellee had driven the

     vehicle while under the influence. N.C. Gen. Stat. § 20-16.2(a). We held as such in

     unpublished opinions, which we find persuasive. Neilon v. Comm’r of Motor Vehicles,

     2011 N.C. App. LEXIS 1233, *13, 718 S.E.2d 737 (2011) (unpublished); Thurman v.

     Comm’r, NC DMV, 2008 N.C. App. LEXIS 1009 *5-6 (2008) (unpublished). Our Court

     has equated “reasonable grounds” with “probable cause.” Moore v. Hodges, 116 N.C.

     App. 727, 730 449 S.E.2d 218, 220 (1994).
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¶8         Here, we conclude that the evidence supports a finding that the Officer had a

     reasonable belief/probable cause that Appellee had been driving her vehicle while

     impaired. First, the Officer had reasonable grounds that Appellee was impaired

     based on the evidence, including that recounted above. And there was evidence that

     she had been driving. Specifically, there was a report of a driver who had fallen

     asleep in the drive-through lane at a fast-food restaurant. The Officer arrived to

     investigate and was directed to Appellee’s car, which was in the restaurant parking

     lot. Appellee was seated on the driver’s side. The vehicle belonged to her. She stated

     that a friend had been “riding with her.” And she admitted to falling asleep while in

     her car in the drive-through lane. It may be that the evidence was not sufficient to

     convict Appellee of DWI, but we conclude the evidence was sufficient to give the

     Officer probable cause that Appellee had driven her car while impaired.

                                        B. Due Process

¶9         The superior court concluded that Appellee was “denied the fundamental

     protections of the Due Process Clause . . . in that she was deprived of the opportunity

     to be heard at a meaningful time and in a meaningful manner.” However, Appellee

     never alleged a due process violation in her petition to the superior court. Assuming

     arguendo that Appellee’s due process argument is properly before us, we conclude

     that her due process rights were not violated, as explained below.
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¶ 10         The superior court found that Appellee’s due process rights were violated

       because the hearing officer is a DMV employee and because she essentially acted, not

       only as fact-finder, but also as the prosecutor. Neither party cited, nor has our

       research uncovered a North Carolina case on point. We note, though, that the Fourth

       Circuit affirmed the decision of the Western District of North Carolina concluding

       that the hearing procedure prescribed in N.C. Gen. Stat. 20-16.2 does not violate the

       driver’s due process rights. Montgomery v. N.C. Dep’t of Motor Vehicles, 455 F. Supp.

       338, 341 (W.D.N.C. 1978), aff’d, 599 F.2d 1048 (4th Cir. 1979).

¶ 11         We conclude that the fact that a hearing officer in a DMV hearing is a DMV

       employee does not violate a driver’s due process rights per se. For instance, the

       United States Supreme Court has held that a prisoner facing disciplinary procedures

       is not deprived of due process merely because the panel who hears the matter is

       comprised of prison officials. See Wolff v. McConnell, 418 U.S. 539, 570 (1974).

       Justice Marshall dissented in Wolff, but did agree on the above point, stating:

                    Finally, the [majority] addresses the question of the need
                    for an impartial tribunal to hear these prison disciplinary
                    cases. We have recognized that an impartial decisionmaker
                    is a fundamental requirement of due process in a variety of
                    relevant situations . . . and I would hold this requirement
                    fully applicable here. But in my view there is no
                    constitutional impediment to a disciplinary board composed
                    of responsible prison officials like those on the Adjustment
                    Committee here. While it might well be desirable to have
                    persons from outside the prison system sitting on
                    disciplinary panels, so as to eliminate any possibility that
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                    subtle institutional pressures may affect the outcome of
                    disciplinary cases and to avoid any appearance of
                    unfairness, in my view due process is satisfied as long as no
                    member of the disciplinary board has been involved in the
                    investigation or prosecution of the particular case, or has
                    had any other form of personal involvement in the case.

       Id. at 592 (Marshall dissenting).

¶ 12         In this case, there is nothing to indicate that the DMV hearing officer had any

       special knowledge or connection to Defendant’s case that would indicate a lack of

       impartiality. We hold that there is nothing “in the record presented here for [us to]

       conclud[e] that the [DMV Hearing Officer acting in accordance with Section 20-16.2]

       presents such a hazard of arbitrary decision making that it should be held violative

       of due process of law.” See id. at 571.

¶ 13         The superior court also took issue with the fact that there was no attorney at

       the hearing putting on the DMV’s case. Rather, the hearing officer considers the

       evidence in the DMV file, issues subpoenas when necessary, and questions the driver

       and other witnesses. In sum, the superior court essentially held that the hearing is

       not “meaningful” because the hearing officer is biased in favor of the DMV. Based on

       our jurisprudence, though, we hold that this procedure does not violate a driver’s due

       process rights where there is nothing to indicate that the hearing officer was doing

       anything more than attempting to elicit the truth.
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                                          Opinion of the Court



¶ 14         We have made similar holdings in commitment proceedings where the State is

       not represented by counsel. See, e.g., In re C.G., 278 N.C. App. 416, 2021-NCCOA-

       344, 863 S.E.2d 237 (2021); In re Perkins, 60 N.C. App. 592, 299 S.E.2d 675 (1983).

       Our Supreme Court has described this principle, stating that “the trial judge may

       interrogate a witness for the purpose of developing a relevant fact . . . in order to

       ensure justice and aid [the fact-finder] in their search for a verdict that speaks the

       truth.” State v. Pearce, 296 N.C. 281, 285, 250 S.E.2d 640, 644 (1979). That Court

       has further held that it is not a per se constitutional violation for the trial court to

       exercise its right to call or question witnesses. State v. Quick, 329 N.C. 1, 21-25, 405

       S.E.2d 179, 192-93 (1991). And our Court has held that it is not per se prejudicial for

       a judge to question a witness, even where the answer provides the sole proof of an

       element which needs to be proved. See State v. Lowe. 60 N.C. App. 549, 552, 299

       S.E.2d 466, 468 (1983).

¶ 15         In sum, we conclude that the procedure prescribed by Section 20-16.2 does not

       violate a driver’s right to due process. The fact that the hearing officer is a DMV

       employee and plays a role in drawing out the truth does not render that officer biased

       any more than a judge, who has the same employer as the prosecutor (the State of

       North Carolina), could be deemed biased for merely questioning witnesses. This is

       not to say that the manner in which a hearing officer conducts her hearing could

       never rise to a due process violation where the hearing officer displays clear bias.
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       However, there is no indication that any such bias was present in the way Appellee’s

       hearing officer conducted the hearing.

                                         III. Conclusion

¶ 16         We conclude that the superior court erred by reversing the DMV’s order

       revoking Appellee’s driving privileges. The record supports the findings in the DMV

       order, and the findings support the conclusions of law. In addition, Appellee was not

       deprived of due process at the hearing before the DMV officer.

             REVERSED.

             Judges MURPHY and JACKSON concur.
